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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



Desarae Surratt,                                    Civil No. 19-2833 (PAM/HB)

                   Plaintiff,

v.                                                  ORDER OF DISMISSAL

ADT LLC of Delaware
d/b/a ADT Security Services,

                   Defendant.

      ________________________________________________________

      The court having been advised that the above case has been settled,

      IT IS HEREBY ORDERED that this action is dismissed, without prejudice,

the Court reserving jurisdiction for sixty (60) days to permit any party to move to

reopen the action, for good cause shown, or to submit and file a stipulated form of

final judgment.

Dated: December 30, 2019

                                       s/ Paul A. Magnuson
                                       PAUL A. MAGNUSON
                                       United States District Judge
